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                                                                   AMENDED: October 2, 2018
                                                                      FILED: October 2, 2018

                                    UNITED STATES COURT OF APPEALS
                                        FOR THE FOURTH CIRCUIT

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                                               No. 17-2231 (L)
                                            (8:17-cv-00361-TDC)
                                           ___________________

        INTERNATIONAL REFUGEE ASSISTANCE PROJECT, a project of the Urban
        Justice Center, Inc., on behalf of itself and its clients; HIAS, INC., on behalf of
        itself and its clients; JOHN DOES #1 & 3; JANE DOE #2; MIDDLE EAST
        STUDIES ASSOCIATION OF NORTH AMERICA, INC., on behalf of itself and
        its members; MUHAMMED METEAB; ARAB AMERICAN ASSOCIATION
        OF NEW YORK, on behalf of itself and its clients; YEMENI-AMERICAN
        MERCHANTS ASSOCIATION; MOHAMAD MASHTA; GRANNAZ
        AMIRJAMSHIDI; FAKHRI ZIAOLHAGH; SHAPOUR SHIRANI; AFSANEH
        KHAZAELI; JOHN DOE #4; JOHN DOE #5

                       Plaintiffs - Appellees

        and

        ALLAN HAKKY; SAMANEH TAKALOO; PAUL HARRISON; IBRAHIM
        AHMED MOHOMED

                       Plaintiffs

        v.

        DONALD J. TRUMP, in his official capacity as President of the United States;
        UNITED STATES DEPARTMENT OF HOMELAND SECURITY;
        DEPARTMENT OF STATE; OFFICE OF THE DIRECTOR OF NATIONAL
        INTELLIGENCE; KIRSTJEN M. NIELSEN, in her official capacity as Secretary
        of Homeland Security; REX TILLERSON, in his official capacity as Secretary of
        State; DANIEL R. COATS, in his official capacity as Director of National
        Intelligence

                       Defendants - Appellants

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        THE AMERICAN CENTER FOR LAW AND JUSTICE; ALABAMA;
        IMMIGRATION REFORM LAW INSTITUTE; ARKANSAS; ARIZONA;
        FLORIDA; KANSAS; LOUISIANA; MISSOURI; OHIO; OKLAHOMA;
        SOUTH CAROLINA; TEXAS; WEST VIRGINIA

                      Amici Supporting Appellant

        T.A., A U.S. Citizen of Yemeni Descent; RODERICK AND SOLANGE
        MACARTHUR JUSTICE CENTER; NEW YORK; CALIFORNIA;
        CONNECTICUT; DELAWARE; ILLINOIS; IOWA; MAINE; MARYLAND;
        MASSACHUSETTS; NEW MEXICO; OREGON; RHODE ISLAND;
        VERMONT; VIRGINIA; WASHINGTON; DISTRICT OF COLUMBIA; CATO
        INSTITUTE; MUSLIM JUSTICE LEAGUE; MUSLIM PUBLIC AFFAIRS
        COUNCIL; COUNCIL ON AMERICAN-ISLAMIC RELATIONS, California;
        IMMIGRATION EQUALITY; THE NEW YORK CITY GAY AND LESBIAN
        ANTI-VIOLENCE PROJECT; THE NATIONAL QUEER ASIAN PACIFIC
        ISLANDER ALLIANCE; THE LGBT BAR ASSOCIATION OF LOS
        ANGELES; THE LGBT BAR ASSOCIATION OF GREATER NEW YORK;
        LESBIAN AND GAY BAR ASSOCIATION OF CHICAGO; GLBTQ LEGAL
        ADVOCATES & DEFENDERS; BAY AREA LAWYERS FOR INDIVIDUAL
        FREEDOM; IMMIGRATION LAW PROFESSORS ON STATUTORY
        CLAIMS; CITY OF CHICAGO; CITY OF LOS ANGELES; CITY OF
        PHILADELPHIA; U. S. CONFERENCE OF MAYORS; INTERNATIONAL
        BAR ASSOCIATION'S HUMAN RIGHTS INSTITUTE; THE AMERICAN-
        ARAB ANTI-DISCRIMINATION COMMITTEE; NATIONAL ASIAN
        PACIFIC    AMERICAN       BAR   ASSOCIATION;     CIVIL   RIGHTS
        ORGANIZATIONS;       INTERNATIONAL      LABOR   ORGANIZATIONS;
        SCHOLARS OF IMMIGRATION LAW; MEMBERS OF CONGRESS;
        PROFESSORS        OF    FEDERAL       COURTS    JURISPRUDENCE,
        CONSTITUTIONAL LAW, AND IMMIGRATION LAW; COLLEGES AND
        UNIVERSITIES;     INTERFAITH    GROUP     OF   RELIGIOUS    AND
        INTERRELIGIOUS ORGANIZATIONS AND CLERGY MEMBERS;
        TECHNOLOGY COMPANIES; INTERNATIONAL LAW SCHOLARS AND
        NONGOVERNMENTAL ORGANIZATIONS; KAREN KOREMATSU; JAY
        HIRABAYASHI; HOLLY YASUI; FRED T. KOREMATSU CENTER FOR
        LAW & EQUALITY; CIVIL RIGHTS ORGANIZATIONS; NATIONAL BAR
        ASSOCIATIONS OF COLOR; CITY OF NEW YORK; MASSACHUSETTS
        TECHNOLOGY LEADERSHIP COUNSEL, INC.

                      Amici Supporting Appellee



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                                             ORDER
                                        ___________________

              The Supreme Court of the United States has vacated the judgment of this court and

        remanded for further consideration in light of Trump v. Hawaii, 138 S. Ct. 2392 (2018).

        In obedience to the mandate of the Supreme Court, we remand this case to the district

        court for further proceedings consistent with the Supreme Court’s decision.

              Entered at the direction of Chief Judge Gregory.

                                                 For the Court

                                                 /s/ Patricia S. Connor, Clerk




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        NIEMEYER, Circuit Judge, with whom Judge AGEE, Senior Judge TRAXLER, and

        Senior Judge SHEDD join, concurring in the order:

               In this case, the Supreme Court vacated our decision, 888 F.3d 233, and remanded

        it for further consideration in light of Trump v. Hawaii, 138 S. Ct. 2392 (2018), where the

        Court fundamentally disagreed with our reasoning and conclusions.              Because that

        reasoning supported the majority’s decision to affirm the decision of the district court,

        265 F. Supp. 3d 570, the district court’s decision should also be vacated, and I would

        have preferred to state as much expressly in our order. I observe, nonetheless, that even

        without any express statement by us, the reasoning and conclusions reached by the

        district court have been overruled. I join in the entry of the order with this understanding.




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